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 1                                                                                     Hon. Richard A. Jones
                                                                                      Hon. J. Richard Creatura
 2

 3
                                    UNITED STATES DISTRICT COURT
 4                                 WESTERN DISTRICT OF WASHINGTON
                                             AT SEATTLE
 5
     El PAPEL LLC, et al.,                                   )
 6                                                           )
                                               Plaintiffs,          No. 2:20-cv-01323-RAJ-JRC
                                                             )
 7                                                           )
                      vs.                                           DEFENDANT CITY OF SEATTLE’S
                                                             )
                                                                    OBJECTIONS TO REPORT AND
 8                                                           )
     JENNY A. DURKAN, et al.,                                       RECOMMENDATION (RE-FILING)
                                                             )
 9                                                           )
                                            Defendants.             NOTE ON MOTION CALENDAR:
                                                             )
                                                                    October 15, 2021
10                                                           )
                                                             )
11
              The City previously filed these objections on September 28, 2021, but in an abundance of
12
     caution is re-filing them to establish a noting date consistent with the noting date for the other
13
     parties’ objections.
14
              While hesitating to cast them as “objections,” Defendant City of Seattle notes three
15
     opportunities in the Report and Recommendation, Dkt. # 141 (“Report”), to more accurately
16
     convey the City measures Plaintiffs challenge.1
17
              With respect to the repayment plan requirement, the Report refers (in one place) to late
18
     fees or interest on unpaid rent accrued during “or six months after” the civil emergency. Dkt.
19
     # 141, p. 27, line 9. The reference to “six months after” should say “one year after.” See Dkt. # 17-
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     12, p. 9. Accord Dkt. # 141, p. 9, line 4 (correctly referencing the one-year period).
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     1
      The City also agrees with and adopts the second objection raised in Defendant Robert W. Ferguson’s objections.
23   Dkt. # 144, p. 2, lines 5-10.



         DEFENDANT CITY OF SEATTLE’S OBJECTIONS TO REPORT AND                                      Peter S. Holmes
         RECOMMENDATION - 1                                                                        Seattle City Attorney
         El Papel LLC v. Durkan, No. 2:20-cv-01323-RAJ-JRC                                         701 Fifth Ave., Suite 2050
                                                                                                   Seattle, WA 98104-7097
                                                                                                   (206) 684-8200
              Case 2:20-cv-01323-RAJ Document 148 Filed 09/30/21 Page 2 of 3




 1           With respect to the six-month defense, the Report indicates the defense allows eviction

 2   for “something other than financial hardship caused by COVID-19.” Dkt. # 141, p. 30, line 9.

 3   The reference should simply be to “something other than financial hardship,” because the six-

 4   month defense does not require that the financial hardship be caused by COVID-19. See Dkt.

 5   # 17-11, p. 20. Accord Dkt. # 141, p. 8, lines 19-20 (correctly stating that “[a] tenant may invoke

 6   the six month defense only by self-certifying financial hardship preventing payment of rent”).

 7           Finally, the Report states: “Here, the Court assumes that the State’s restriction

 8   substantially impaired the contractual relationship.” Dkt. # 141, p. 14, lines 6-7. The Report then

 9   states in footnote 10: “Therefore, the Court does not address the parties’ arguments regarding

10   whether the leases are a substantial impairment to contracts. E.g., Dkt. 93, at 13–18.” Dkt.

11   # 141, p. 14, n.10 (emphasis added). The City believes the Report meant to say “eviction

12   restrictions” rather than “leases” there. See id., p. 2, n.1 (“the Court will collectively refer to all

13   measures as ‘eviction restrictions’”). That belief is buttressed by the fact that footnote 10 of the

14   Report cites the passage from Plaintiffs’ brief containing Plaintiffs’ arguments for why all the

15   measures (one State and three City) substantially impair contracts.

16   //

17   //

18   //

19   //

20   //

21   //

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23   //



      DEFENDANT CITY OF SEATTLE’S OBJECTIONS TO REPORT AND                                  Peter S. Holmes
      RECOMMENDATION - 2                                                                    Seattle City Attorney
      El Papel LLC v. Durkan, No. 2:20-cv-01323-RAJ-JRC                                     701 Fifth Ave., Suite 2050
                                                                                            Seattle, WA 98104-7097
                                                                                            (206) 684-8200
           Case 2:20-cv-01323-RAJ Document 148 Filed 09/30/21 Page 3 of 3




 1        Respectfully submitted September 30, 2021.

 2
                                              PETER S. HOLMES
 3                                            Seattle City Attorney

 4                                            By:      /s/ Jeffrey S. Weber, WSBA #24496
                                                       /s/ Roger D. Wynne, WSBA #23399
 5                                                     /s/ Derrick De Vera, WSBA #49954
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10                                            Assistant City Attorneys for Defendants City of
                                              Seattle and Jenny A. Durkan, in her official capacity
11                                            as the Mayor of the City of Seattle

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     DEFENDANT CITY OF SEATTLE’S OBJECTIONS TO REPORT AND                          Peter S. Holmes
     RECOMMENDATION - 3                                                            Seattle City Attorney
     El Papel LLC v. Durkan, No. 2:20-cv-01323-RAJ-JRC                             701 Fifth Ave., Suite 2050
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